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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )                   8:14CR54
                      Plaintiff,               )
                                               )
       vs.                                     )                    ORDER
                                               )
JOSHUA M. WILDENRADT,                          )
ROBERT D. BRYAN, and                           )
RUSSELL HARRIS,                                )
                                               )
                      Defendants.              )

       This matter is before the court on the motion to continue by defendant Robert D. Bryan
(Bryan) (Filing No. 104). Bryan seeks a continuance of the trial scheduled for January 5, 2015.
Bryan's counsel represents Bryan will submit an affidavit in accordance with paragraph 9 of the
progression order whereby Bryan consents to the motion and acknowledges he understands the
additional time may be excludable time for the purposes of the Speedy Trial Act. Bryan's counsel
represents that government's counsel has no objection to the motion. Upon consideration, the
motion will be granted. Trial will be continued as to all defendants.


       IT IS ORDERED:

       1.     Bryan's motion to continue trial (Filing No. 104) is granted.
       2.     Trial of this matter is re-scheduled for March 9, 2015, before Senior Judge Joseph

F. Bataillon and a jury. The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendants in a speedy trial. The additional time

arising as a result of the granting of the motion, i.e., the time between December 24, 2014, and

March 9, 2015, shall be deemed excludable time in any computation of time under the

requirement of the Speedy Trial Act for the reason that defendants' counsel require additional
time to adequately prepare the case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 24th day of December, 2014.
                                                    BY THE COURT:

                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge
